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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                 CASE NO.:

  NIGEL FRANK DE LA TORRE PARDO,

                  Plaintiff,

  v.

  STIC HOLDINGS, LLC,

                  Defendant.
                                                    /

                                            COMPLAINT

            Plaintiff, NIGEL FRANK DE LA TORRE PARDO, individually and on behalf of all other

  similarly situated mobility-impaired individuals (hereinafter “Plaintiff”), sues STIC HOLDINGS,

  LLC (hereinafter “Defendant”), and as grounds alleges:

                               JURISDICTION, PARTIES, AND VENUE

       1.         This is an action for injunctive relief, attorneys' fees, litigation expenses, and costs

  pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with Disabilities Act” or “ADA”).

       2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

       3.         Plaintiff, NIGEL FRANK DE LA TORRE PARDO, is an individual over eighteen

  years of age, with a residence in Miami-Dade County, Florida, and is otherwise sui juris.

       4.         At all times material, Defendant, STIC HOLDINGS, LLC, owned and operated a

  commercial property at 1 SE 3rd Avenue, Miami, Florida, 33131, (hereinafter the “Commercial

  Property”) and conducted a substantial amount of business in that place of public accommodation

  in Miami Dade County, Florida.

       5.         At all times material, Defendant, STIC HOLDINGS, LLC, was and is a Foreign


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  Limited Liability Company registered in Delaware, with its principal place of business listed in

  Los Angeles, California.

       6.        Venue is properly located in the Southern District of Florida because Defendant’s

  Commercial Property is located in Miami-Dade County, Florida, Defendant regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                     FACTUAL ALLEGATIONS

       7.        Although over thirty (30) years have passed since the effective date of Title III of

  the ADA, Defendant has yet to make their facilities accessible to individuals with disabilities.

       8.        Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendant continues to discriminate against people

  who are disabled in ways that block them from access and use of Defendant’s property.

       9.        The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

       10.       Plaintiff, NIGEL FRANK DE LA TORRE PARDO, is an individual with

  disabilities as defined by and pursuant to the ADA. NIGEL FRANK DE LA TORRE PARDO

  uses a wheelchair to ambulate. NIGEL FRANK DE LA TORRE PARDO has very limited use of

  his hands and cannot operate any mechanisms which require tight grasping or twisting of the

  wrist. He has lower paraplegia, which inhibits him from walking or otherwise ambulating without

  the use of a wheelchair. He is limited in his major life activities by such, including but not limited

  to walking, standing, grabbing, grasping and/or pinching.

       11.       The Plaintiff is a staunch advocate of the ADA. Since becoming aware of his




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  rights, and their repeated infringement, he has dedicated his life to this cause so that he, and others

  like him, may have full and equal enjoyment of public accommodations without the fear of

  discrimination and repeated exposure to architectural barriers in violation of the ADA.

       12.       He is often frustrated and disheartened by the repetitiveness of the complaints he

  is forced to make to employees and management at different places of public accommodation

  over thirty (30) years after the legislation of the ADA, to no avail. The Plaintiff is accordingly of

  the belief that the only way to affect change is through the mechanisms provided under the ADA.

       13.       Defendant, STIC HOLDINGS, LLC, owns, operates, and oversees the

  Commercial Property, its general parking garage and parking spots, located in Miami Dade

  County, Florida, that is the subject of this Action.

       14.       The subject Commercial Property is open to the public. The individual Plaintiff

  visits the Commercial Property and businesses located within the commercial property, to include

  visits to the Commercial Property on or about January 6, 2025, and encountered multiple

  violations of the ADA that directly affected his ability to use and enjoy the Commercial Property.

  He often visits the Commercial Property in order to avail himself of the goods and services offered

  there, and because it is approximately thirty-three (33) miles from his residence and is near other

  businesses and restaurants he frequents as a patron. He plans to return to the Commercial Property

  within four (4) months of the filing of this Complaint, in order to avail himself of the goods and

  services offered at the place of public accommodation and check if it has been remediated of the

  ADA violations he encountered.

       15.       The Plaintiff found the Commercial Property to be rife with ADA violations. The

  Plaintiff encountered architectural barriers at the Commercial Property and wishes to continue his

  patronage and use of each of the premises.




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        16.       The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property, and businesses within, have each denied or

  diminished Plaintiff’s ability to visit the Commercial Property and have endangered his safety in

  violation of the ADA. The barriers to access, which are set forth below, have likewise posed a

  risk of injury(ies), embarrassment, and discomfort to Plaintiff, NIGEL FRANK DE LA TORRE

  PARDO, and others similarly situated.

        17.       Defendant, STIC HOLDINGS, LLC, owns and/or operates a place of public

  accommodation as defined by the ADA and the regulations implementing the ADA, 28 CFR

  36.201 (a) and 36.104. Defendant, STIC HOLDINGS, LLC, is responsible for complying with

  the obligations of the ADA. The place of public accommodation where Defendant, STIC

  HOLDINGS, LLC, owns and/or operates the Commercial Property located at 1 SE 3rd Avenue,

  Miami, Florida, 33131.

        18.       Defendant, STIC HOLDINGS, LLC, as landlord of the commercial property is

  liable for all the violations listed in this Complaint.

        19.       Plaintiff, NIGEL FRANK DE LA TORRE PARDO, has a realistic, credible,

  existing, and continuing threat of discrimination from Defendant’s non-compliance with the ADA

  with respect to the described Commercial Property, and with respect to the allegations of this

  Complaint. Plaintiff has reasonable grounds to believe that he will continue to be subjected to

  discrimination at the Commercial Property, in violation of the ADA. Plaintiff desires to visit the

  Commercial Property, not only to avail himself of the services available at the Commercial

  Property, but to assure himself that the Commercial Property in compliance with the ADA, so

  that he and others similarly situated will have full and equal enjoyment of the Commercial




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  Property without fear of discrimination.

         20.      Defendant has discriminated against the individual Plaintiff by denying him access

  to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

  accommodations of the Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                COUNT I – ADA VIOLATIONS
                           AS TO DEFENDANT STIC HOLDINGS, LLC

         21.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  20 above as though fully set forth herein.

         22.      Defendant, STIC HOLDINGS, LLC, has discriminated, and continues to

  discriminate against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

  facilities by January 26, 1992 (or January 26, 1993, if defendants have 10 or fewer employees and

  gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

  visit to the Commercial Property are the following:

        A. Parking

   i.    There are accessible parking spaces with signs that are mounted too low, violating Section

         4.6.4 of the ADAAG and Section 502.6 of the 2010 ADA Standards, whose resolution is

         readily achievable.

  ii.    Plaintiff had difficulty exiting the vehicle, as an access aisle of the required width is not

         provided. Violation: there are accessible parking spaces that do not have compliant access

         aisles provided, violating Sections 4.1.2(5b) and 4.6.3 of the ADAAG and Section 502.2 of

         the 2010 ADA Standards, whose resolution is readily achievable.

 iii.    Plaintiff had difficulty exiting the vehicle, as accessible parking spaces are not the required

         width. Violation: there are accessible parking spaces that are not a compliant width,

         violating Section 4.6.3 of the ADAAG and Section 502.2 of the 2010 ADA Standards,



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         whose resolution is readily achievable.

        B. Entrance Access and Path of Travel

   i.    There are objects on the path of travel at the facility that protrude more than the maximum

         allowable, violating Section 4.4.1 of ADAAG and Section 307.2 of the 2010 ADA

         Standards, whose resolution is readily achievable.

        C. Public Restrooms

   i.    There are permanently designated interior spaces without proper signage, violating Section

         4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

         whose resolution is readily achievable.

  ii.    Plaintiff could not enter the accessible toilet compartment without assistance, as the

         required maneuvering clearance is not provided. Violation: the accessible toilet

         compartment does not provide the required latch side clearance at the door violating

         Sections 4.13.6 and 4.17.5 of the ADAAG and Sections 404.2.4 and 604.8.1.2 of the 2010

         ADA Standards, whose resolution is readily achievable.

 iii.    Plaintiff could not exit the restroom without assistance, as the required maneuvering

         clearance is not provided. Violation: the restroom door does not provide the required latch

         side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010

         ADA Standards, whose resolution is readily achievable.

                               RELIEF SOUGHT AND THE BASIS

         23.      Plaintiff requests an inspection of the Defendant’s place of public accommodation

  in order to photograph and measure all of the discriminatory acts violating the ADA identified in

  this Complaint in conjunction with Rule 34 and timely notice. Plaintiff requests to be allowed to

  be physically present at such inspection in conjunction with Rule 34 and timely notice. Plaintiff




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  requests the inspection in order to participate in crafting a remediation plan to address Plaintiff’s

  request for injunctive relief. The remediations for the ADA violations listed herein are readily

  achievable.

        24.       The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs, and activities offered by the Defendant, Defendant’s building, and

  facilities therein; and has otherwise been discriminated against and damaged by the Defendant

  because of the Defendant’s ADA violations as set forth above. The individual Plaintiff, and all

  others similarly situated, will continue to suffer such discrimination, injury and damage without

  the immediate relief provided by the ADA, as requested herein. Plaintiff requests the inspection

  of the barriers listed herein in order to participate in crafting a remediation plan to address

  Plaintiff’s request for injunctive relief.

        25.       Defendant has discriminated against the individual Plaintiff by denying him access

  to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendant continues to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to

  afford all offered goods, services, facilities, privileges, advantages or accommodations to

  individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

  that no individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

        26.       Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has




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  a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

  all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

  entitled to recover attorneys’ fees, costs, and litigation expenses from Defendant pursuant to 42

  U.S.C. § 12205 and 28 CFR 36.505.

        27.       Defendant is required to remove the existing architectural barriers to the physically

  disabled when such removal is readily achievable for its place of public accommodation. The

  Plaintiff and all others similarly situated will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein.

        28.       Notice to a defendant is not required as a result of the defendant’s failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendant.

        29.       Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff’s injunctive relief, including an order to alter the Commercial Property located at 1 SE

  3rd Avenue, Miami, Florida, 33131, the exterior areas, and the common exterior areas of the

  Commercial Property, to make those facilities readily accessible and useable to the Plaintiff and

  all other mobility-impaired persons; or by closing the facility until such time as the Defendant

  cure the violations of the ADA.

          WHEREFORE, the Plaintiff, NIGEL FRANK DE LA TORRE PARDO, respectfully

  requests that this Honorable Court issue (i) injunctive relief against Defendant including an order

  to make all readily achievable alterations to the facilities; or to make such facilities readily

  accessible to and usable by individuals with disabilities to the extent required by the ADA; and

  to require the Defendant to make reasonable modifications in policies, practices or procedures,




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  when such modifications are necessary to afford all offered goods, services, facilities, privileges,

  advantages or accommodations to individuals with disabilities; (ii) an award of attorneys’ fees,

  costs and litigation expenses pursuant to 42 U.S.C. § 12205; and (iii) such other relief as the Court

  deems just and proper, and/or is allowable under Title III of the Americans with Disabilities Act.

  Dated: February 24, 2025
                                                        Respectfully submitted by,

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